
99 N.Y.2d 576 (2003)
EDWIN NACHBAUR, Plaintiff,
v.
AMERICAN TRANSIT INSURANCE COMPANY, Respondent.
TEDDY MOORE, Nonparty Appellant.
Court of Appeals of the State of New York.
Submitted December 23, 2002.
Decided January 21, 2003.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as pertains to sanctions imposed against Teddy Moore, dismissed upon the ground that such part of the order does not finally determine an action or proceeding within the meaning of the Constitution; motion for leave to appeal otherwise dismissed upon the ground that Teddy Moore is not aggrieved by the remainder of the Appellate Division order.
